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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                           )                                            /{t.J....
             v.            )                       Case No. 1 :21-cr-117 (�)
                           )
RYAN NICHOLS,              )
                           )
                Defendant. )

                                      P-ROPOSBTTlRDER

          Upon consideration of the Motion to admit Attorney Bradford L. Geyer Pro Hae Vice,

it is hereby

        ORDERED that the Motion is GRANTED, and

       ORDERED that Mr. Geyer may provide representation for Defendant Ryan Nichols after

filing his Notice of Appearance in the case.


                        "";\t",l
SO ORDERED on this WH day of March, 2023. �C. �

                                               HONORABLE IHOMAS F. l:iOGAN
                                               United States District Judge
